AFFIDAVIT OF CUSTODIAN OF RECORDS

STATE OF TENNESSEE )
)
county oF Autherford
Freya Ryo wi] , says as follows:

(a) That | am the duly authorized Custodian of the records for Deka Efobi, M.D. /
Neurology Clinic Associates and have authority to certify said records;
Tehn Ruffino

(b) That the copy of the requested records on ‘Olver-Welfeabarger attached to
this Affidavit is a true copy of all the records described in the accompanying

letter dated January 10, 2017, and the signed Authorizations for Release of
Protected Health Information;

(c) That the records were prepared by the personnel of this office in the ordinary
course of business at or near the time of the act, condition, or event; and

(d) That the cost to furnish the copies of these records based on the usual

charges of this office is $ o¥0- G0 .
An It Pht

(Signatupe of Affiant)
STATE OF TENNESSEE )
)
COUNTY OF RutherSo-\ )
Sworn to and subscribed by me on this 2-0 day of __ tout , 2017,

WRRA-

(Notary Public)

My Commission Expires: ql roly00 Magy
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= grave =
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Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 1 of 58 PagelD #: 383
John Ruffino Neurology Clinic Associates - 000001
1of7

https://www17.glaceemr.com/NCA/jsp/chart/patientdetails/HealthR..,

DEKA EFOBI M.D.

305 W Main Street
Lebanon, TN 37087
Phone : (615) 443-9912
Fax : (615) 443-9978
Email : drbrain@nca-md.com

Account No.: 332081 Patient Name: John J. Ruffino DOB: 06/12/1959
PERSONAL DETAILS:
Name JOHN J. RUFFINO | Gender MALE DOB 06/12/1959

1206 SOUTH 6TH STREET .
Address MAYFIELD, KY 42066 E-mail
Home Phone No. (248) 770-1584 Cell Phone No. (248) 762-5356
emergency Contact Principal Doctor DEKA A. EFOBI M.D.
erson

PRIMARY INSURANCE:

Insurance Details UNITED HEALTHCARE Insurance ID “1950404828
P.0.BOX 740800

Address ATLANTA, GA 30374 Subscriber Name JOHN J. RUFFINO

Phone No. Group No. 904957

EEG (DOS: 02/16/2016)
Procedure: EEG

Evaluation Date: 02/11/2016. 41 minutes

Reason for Study: John J. Ruffino, a 57-year-old male, has been recommended EEG for transient alteration in
awareness.

Technical Study : A posterior dominant rhythm was seen. At 11.This activity is of medium amplitude, symmetric and
reactive to eye opening. Epileptiform activity was not seen.

Photic stimulation: No abnormal responses were seen.
Sleep: Patient attained stage Ii NREM sleep. Sleep potentials were symmetrical.
Impression: This is a normal EEG, while the patient was awake and asleep. Focal or lateralizing features were not seen

during the recording. Generalized abnormalities were not seen during the recording. Epileptiform findings were not seen
during the recording.

_f .
? lnm’ (wi
DEKA A EFOBI, M.D.

This report is electronically signed.

NEUROLOGY PROGRESS NOTE (DOS: 02/11/2016)

Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 2 of 58 PagelD #4/B:@917 5:04 PM
John Ruffino Neurology Clinic Associates - 000004
2 of 7

https://www17.glaceemr.com/NCA/jsp/chart/patientdetails/HealthR...

Account No.: 332081 Patient Name: John J. Ruttino DOB: U6/12/195Y

Chief Complaints/Reason for Visit

Follow up visit on MRI, MRA and ECHO. Pt. Did not have blood work done. Also states he is still experiencing Mini
stroke, headaches, memory loss and Difficulty swallowing at this time. No refill.

History of present Illness

Folow up..Had another TIA like spell. Worried

Review of System

* Constitutional: Positive for fatigue. Negative for fever, malaise, recent weight loss and recent weight gain.

* Eyes: Positive for redness, pain / pressure and glasses. Negative for vision changes, contacts lens, diplopia,
blurred vision and drainage.

Ears: Positive for hearing loss. Negative for tinnitus, headache, otalgia and vertigo.

Nose: Negative for rhinorrhea, nasal congestion, epistaxis, sinusitis and ulcers.

Mouth: Negative for shingles, mouth breathing, dry mouth, swelling of the lips, gum bleeding and Sore tounge.
Throat: Positive for snoring. Negative for throat clearing, sore throat, difficulty speaking, throat infections, post nasal
drip, feeling of tightness and throat pain.

¢ Respiratory: Positive for shortness of breath.

« Cardiovascular: Negative for palpitations, edema and angina.

« Neurology: Positive for numbness, weakness of extremities, tingling and memory loss. Negative for headaches,
seizures, tremors, trouble walking, confusion, mood changes and giddiness.

Musculoskeletal: Positive for back pain, joint pain, weakness and H/O falls. Negative for limited movement.
Psychiatric: Positive for depression and anxiety/panic attacks.

Gastrointestinal: Negative for diarrhea, constipation, dysphagia and reflux.

Genitourinary: Positive for frequent urination and urgency. Negative for incomplete emptying and nocturia.

Skin: Negative for rash.

Hematological: Positive for easy bruising. Negative for lymphadenopathy.

Endocrine: Negative for heat intolerance and cold intolerance.

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History
Past Medical History: HTN.
Surgical History: Gallbladder removal Appendectomy,.

Social History: He never consumes alcohol. He never consumes caffeine. Patient does not exercise regularly. Uses
home smoke detector. He is married. He is a heavy cigarette smoker (20-39 cigs/day). Never consumes soda.

Family History: Father is deceased (cancer). Mother is deceased (cancer). Siblings are alive (2 brother cancer back
pain). Children are alive (1 son good health).

Current Medications

Aspirin 81 mg tablet, dispersible qd oral, Flomax 0. 4 mg 1 capsule qd oral, Hydrochlorothiazide 25 mg 1 tablet ad
oral, Lipitor 20 mg 1 tablet qd oral and Lisinopril 10 mg 1 tablet qd oral.

Allergies

NKDA.

. General Physical Exam:
General appearance: Appears stated age and in no apparent distress.
Cardiovascular: S1 S2 regular rate and rhythm; No carotid bruits auscultated,

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Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 3 of 58 PagelD #: Aye
John Ruffino Neurology Clinic Associates - 000005
3 of 7

https://www17.glaceemr.com/NCA/jsp/chart/patientdetails/HealthR...

Account No.: 332081 Patient Name: John J. Ruffino DOB: 06/12/1959

Musculoskeletal: Neck supple full range of motion of neck and back; Nontender to palpation of neck and back.
Head: Symmetric.

Eyes: No scleral icterus.

Ears: Bilateral tympanic membranes were pearly grey with good light reflex.

Nose: Nasal mucosa normal.

Throat: No lymphadenopathy, no signs of infection.

Neck: Supple. No thyromegaly and cervical nodes or JVD.

Peripheral vascular: Radial, dorsalis pedis and posterio tibialis pulses 2/4 bilaterally,

Respiratory: Lungs are normal to percussion and clear to auscultation.

Extremities: Right elbow tenderness on palpation.

Abdomen: Soft, non tender and not distended; there is no organomegaly; bowel sounds are heard,

Neurologic Exam:

Mental Status:

Alert: Alert.

Orientation: Oriented to person, place and time.

Attention & concentration: Attention and concentration is good.
Speech & language: Speech is fluent.

Comprehension: Comprehension is intact.

Repitition: Repitition is intact.

Naming: Naming is intact.

Long term memory: Long term memory appears good.

Short term memory: Short term memory appears good.

Mood and affect: Affect is appropriate.

Fund of knowledge: Fund of knowledge appears adequate.
Cranial Nerves:

I: Not tested,

i Pupils equally round and reactive to light and accomodation; visual fields were full: fundus vasculature was normal
and disk margins were normal.

HH, IV & Vi Extraocular movements are intact.

V: Facial sensation was equal; jaw strength was intact.

Vil: Face symmetric.

VII: Hearing was grossly intact to voice and finger rub.

IX, X: Uvula was midline.

XI: Shoulder shrug, lateral head rotation was intact.

XII: Tongue was midline.

Muscle Strength: No pronator drift; fine finger movements intact; 5/5 upper extremity and lower extremity bilaterally,
Tone: Normal throughout.

Sensory: Intact to light touch throughout.

Reflexes: Reflexes are 2/4 throughout.

Babinski Reflex: Downgoing bilaterally.

Cerebellar: Finger to nose and heel to shin, rapid alternating movements intact bilaterally.
Gait: Normal heel to toe; negative romberg; tandem is intact.
Assessment

1. Transient cerebral ischemic attack, unspecified.

2. Transient alteration of awareness.

3. Other hyperlipidemia.

4, Essential (primary) hypertension.

5. Toxic effect of tobacco cigarettes, accidental (unintentional), initial encounter.
6. Abnormal brain scan.

Plan

1. Hypercoagulable Panel and Comprehensive ordered on 02/11/2016. EEG ordered on 02/11/2016.

2, | have prescribed him to take Neurontin 300 mg oral capsule ghs for 30 days (refills 1).

3. Patient with transient alteration in awareness and transient episoes of TIA like sx. His last one described as
numbness with difficulty swallowing followed by fatigue and headaches. Will try low dose neurontin. MRI brain
negative for infarct; PWMD ECHO, MRA ok- DDx partial seizures. Will get EEG. Still has not had hypercoagulable
profile drawn. COntinue statins, antiplatelets.

Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 4 of 58 PagelD #18287 s:04 pM
John Ruffino Neurology Clinic Associates - 000006
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Account No.: 332081 Patient Name: John J. Ruffino DOB: 06/12/1959

4, EEGFperformed-see separate note
5. Return Visit:2/18/2016.
6. Time spent with patient:35.

2 ? Jur (ey
DEKA A EFOBI, M.D.

This report is electronically signed.

NEUROLOGY PROGRESS NOTE (DOS: 02/11/2016)

Chief Complaints/Reason for Visit
Here for EEG

History
2 Past Medical History: HTN.
Surgical History: Gallbladder removal Appendectomy.

Social History: He never consumes alcohol. He never consumes caffeine. Patient does not exercise regularly. Uses
home smoke detector. He is married. He is a heavy cigarette smoker (20-39 cigs/day). Never consumes soda,

Family History: Father is deceased (cancer). Mother is deceased (cancer), Siblings are alive (2 brother cancer back
pain), Children are alive (1 son good health).

Current Medications

Aspirin 81 mg tablet, dispersible qd oral, Flomax 0. 4 mg 1 capsule qd oral, Hydrochlorothiazide 25 mg 1 tablet qd
oral, Lipitor 20 mg 1 tablet qd oral, Lisinopril 10 mg 1 tablet qd oral and Neurontin 300 mg capsule ghs oral.

Allergies

NKDA.

General Physical Exam:

Vitals:

Sitting RA BP: 142/88 mmHg, Respiratory Rate: 16 per min, Pulse Ox: 98 %, Pulse rate: 74 per min and Height: 5'
4",

Assessment

1. Transient cerebral ischemic attack, unspecified.

2. Other hyperlipidemia.

3. Essential (primary) hypertension.

4. Toxic effect of tobacco cigarettes, accidental (unintentional), initial encounter.
5. Transient alteration of awareness.

Plan

4 of 7 . .
"Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 5 of 58 PagelD #1/3§!7 5:04 PM

John Ruffino Neurology Clinic Associates - 000007
https://www17.glaceemr.com/NCA/jsp/chart/patientdetails/HealthR...

Account No.: 332081 Patient Name: John J. Ruffino DOB: 06/12/1959

1. | have prescribed him to take Folbic Vitamin B Complex with Folic Acid oral 1 tablet daily for 30 days (refills 12).
2. See separate report
3. Time spent with patient:45.

Aftercare
1. Patient family was counseled regarding treatment plans, medication adjustment and lifestyle recommendations to
deal with the special needs of the patient.

DEKA A EFOBI, M.D.

This report is-electronically signed.

NEUROLOGY PROGRESS NOTE (DOS: 12/14/2015)

Chief Complaints/Reason for Visit
New pt. Referred from Dr. Luck. Pt. States he is dealing with mini strokes.

History of present Iliness

56 year-old RHCM with intermittent right sided heaviness and paresthesia ongoing for 2 months. HAs had 3 spells; first
one occurd while walking in walmart and felt heaviness of RLE, two other episodes ocured while sitting, unable to use
RUE. HAs dysarthria with all episodes and they last a few minutes. NO LOC, no confusiion, no headache. Now on
aspirin, Takes

Review of System
+ Constitutional: Positive for fatigue. Negative for fever, malaise, recent weight loss and recent weight gain.
« Eyes: Positive for redness, pain / pressure and glasses. Negative for vision changes, contacts lens, diplopia,
blurred vision and drainage.
Ears: Positive for hearing loss. Negative for tinnitus, headache, otalgia and vertigo.
Nose: Negative for rhinorrhea, nasal congestion, epistaxis, sinusitis and ulcers.
Mouth: Negative for shingles, mouth breathing, dry mouth, swelling of the lips, gum bleeding and Sore tounge.
Throat: Positive for snoring. Negative for throat clearing, sore throat, difficulty speaking, throat infections, post nasal
drip, feeling of tightness and throat pain.
* Respiratory: Positive for shortness of breath. .
« Cardiovascular: Negative for palpitations, edema and angina.
« Neurology: Positive for numbness, weakness of extremities, tingling and memory loss. Negative for headaches,
seizures, tremors, trouble walking, confusion, mood changes and giddiness.
Musculoskeletal: Positive for back pain, joint pain, weakness and H/O falls. Negative for limited movement.
Psychiatric: Positive for depression and anxiety/panic attacks.
Gastrointestinal: Negative for diarrhea, constipation, dysphagia and reflux.
Genitourinary: Positive for frequent urination and urgency. Negative for incomplete emptying and nocturia,
Skin: Negative for rash.
Hematological: Positive for easy bruising. Negative for lymphadenopathy.
Endocrine: Negative for heat intolerance and cold intolerance.

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History

Past Medical History: HTN.

5 of 7 Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 6 of 58 PagelD #1/288)17 5:04 pm
John Ruffino Neurology Clinic Associates - 000008
https://www17.glaceemr.com/NCA/jsp/chart/patientdetails/Healthk...

Account No.: 332081 Patient Name: John J. Ruffino DOB: 06/12/1959

Surgical History: Gallbladder removal Appendectomy.

Social History: He never consumes alcohol. He never consumes caffeine. Patient does not exercise regularly. Uses
home smoke detector. He Is married. He Is a heavy cigarette smoker (20-39 cigs/day). Never consumes soda.

Family History: Father is deceased (cancer). Mother is deceased (cancer). Siblings are alive (2 brother cancer back
pain). Children are alive (1 son good health).

Current Medications

Aspirin 81 mg tablet, dispersible qd oral, Flomax 0. 4 mg 1 capsule qd oral, Hydrochlorothiazide 25 mg 1 tablet qd
oral, Lipitor 20 mg 1 tablet qd oral and Lisinopril 10 mg 1 tablet qd oral.

Allergies

NKDA.

General Physical Exam:

General appearance: Appears stated age and in no apparent distress.

Cardiovascular: S1 S2 regular rate and rhythm; No carotid brults auscultated.

Musculoskeletal: Neck supple full range of motion of neck and back; Nontender to palpation of neck and back.
Head: Symmetric.

Eyes: No scleral icterus.

Ears: Bilateral tympanic membranes were pearly grey with good light reflex.

Nose: Nasal mucosa normal.

Throat: No lymphadenopathy, no signs of infection.

Neck: Supple. No thyromegaly and cervical nodes or JVD.

Peripheral vascular: Radial, dorsalis pedis and posterio tibialis pulses 2/4 bilaterally.

Respiratory: Lungs are normal to percussion and clear to auscultation.

Extremities: Right elbow tenderness on palpation.

Abdomen: Soft, non tender and not distended; there is no organomegaly; bowel sounds are heard.

Neurologic Exam:

Mental Status:

Alert: Alert.

Orientation: Oriented to person, place and time.

Attention & concentration: Attention and concentration is good.
Speech & language: Speech is fluent.

Comprehension: Comprehension is intact,

Repitition: Repitition is intact.

Naming: Naming is intact.

Long term memory: Long term memory appears good.

Short term memory: Short term memory appears good.

Mood and affect: Affect is appropriate.

Fund of knowledge: Fund of knowledge appears adequate.
Cranial Nerves:

I; Not tested.

Il: Pupils equally round and reactive to light and accomodation; visual fields were full; fundus vasculature was normal
and disk margins were normal.

lif, IV & Vi: Extraocular movements are intact.

V: Facial sensation was equal; jaw strength was intact.

Vil: Face symmetric.

VII Hearing was grossly intact to voice and finger rub.

IX, X: Uvula was midline.

Xi: Shoulder shrug, lateral head rotation was intact.

Xil: Tongue was midline.

Muscle Strength: No pronator drift; fine finger movements intact; 5/5 upper extremity and lower extremity bilaterally.

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ee Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 7 of 58 PagelD #!/34u!7 5:04 PM
John Ruffino Neurology Clinic Associates - 000009

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Account No.: 332081 Patient Name: John J. Ruffino DOB: 06/12/1959

Tone: Normal throughout.

Sensory: intact to light touch throughout.

Reflexes: Reflexes are 2/4 throughout.

Babinski Reflex: Downgoing bilaterally.

Cerebellar: Finger to nose and heel to shin, rapid alternating movements intact bilaterally.
Gait: Normal heel to toe; negative romberg; tandem is intact.

Assessment

1. Transient cerebral ischemic attack, unspecified.

2. Other hyperlipidemia.

3. Essential (primary) hypertension.

4. Toxic effect of tobacco cigarettes, accidental (unintentional), initial encounter.

Plan

1. MRA Brain ordered on 12/14/2015. MRI BRAIN WITH AND W/O CONTRAST ordered on 12/14/2015.
Hypercoagulabie Panel and Comprehensive ordered on 12/14/2015. ECHO ordered on 12/14/2015.
2, Has had multiple episodes suggestive of TIA. Recently started aspirin and 1 since then. DDX:TIA vertebrobasilar

syndrome, seizures. He as multiple risk factors for CVD: htn, hyperlipidemia, tobacco depe. Does not wish to stop
smoking.

3.

4. Will initiate w/u. Continue aspirin, statins and good BP control. States he had lipid profile recently with PCP. Please
get result.

5. Follow up after all above. May need eeg if all negative

6. Tennis elbow-followed by PCP

7. Return Visit:1/11/2016.

8. Time spent with patient:45.

DEKA A EFOBI, M.D.

This report fs electronically signed.

7 of 7 Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 8 of 58 PagelD #33904 5.04 pay
John Ruffino Neurology Clinic Associates - 000010
Fax Server

Phone (615) 443-2583
Patient Name: RUFFINO, JOHN J

12/23/2015 2:41:57 PM PAGE

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4/004 Fax Server

Radiology Results

University Medical Center
1411 West Baddour Parkway, Lebanon, TN, 37087

Fax (615) 443-2536

Clinical Diagnosis: CEREBRAL ISCHEMIC
ATTACK/HYPERLIPIDEMIA ;TC:

PROCEDURE: MRA HEAD WITHOUT CONTRAST
TECHNIQUE: Axial 3-D time-of-flight MR angiography of
the circle of Willis was performed. The source images

were reconstructed in various views using maximum
intensity projection. CPT 70544

HISTORY: Multiple episodes of right-sided weakness
and aphasia .

COMPARISONS: None .

FINDINGS:

Vertebral arteries: Normal .

Basilar artery: Normal .

Internal carotid arteries: Normal .

Anterior cerebral arteries: Normal .

Middle cerebral arteries: Normal .

Posterior cerebral arteries: Normal . Posterior
communicating arteries not identified.

Branch occlusions: None .

Vascular malformations: None .

IMPRESSION: No significant intracranial arterial
abnormality. Posterior communicating arteries not
identified,

Dictated By: Bernhard, Matthew
Signed By: Bernhard, Matthew

End of diagnostic report for accession: 10016287

DOB: 06/12/1959 Age: S6Y Patient Status: 0 Patient Type: O
Visit #: 3644371 Sex: M Patient Location: OPR
Acc.: 10016287 Completed: 12/23/2015
_ Exam: (884) MRAVBRWO- - MRA/MRV HEAD WO CONT
Requesting Provider; EFOBI,DEKA, MD MRN/PtNum: 0000764114
Attending Provider: EFOBI,DEKA, MD
305 WEST MAIN STREET
LEBANON, TN 37087
Diagnostic Report Text:

Dictated By: BERNHARD, MATTHEW, MI
Transcribed By: Interfac, Powerscribe884, 884TRANS
Signed By: BERNHARD, MATTHEW, MD

12/23/2015 1.00 PM CST
12/23/2915 1:00 PM CST

12/23/2015 1:38 PM CST

Case 3:17-cv-00725 Document 41-4

John Ruffino

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Page | of 1

Page 9 of 58 PagelD 4/9617 5.24 PM
Neurology Clinic Associates - 000011
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Fax Server 12/23/2015 2:41:57 PM PAGE 4/004 Fax Server

Radiology Results

University Medical Center
1411 West Baddour Parkway, Lebanon, TN, 37087
Phone (615) 443-2583 Fax (615) 443-2536
Patient Name: RUFFINO, JOHN J

DOB: 06/12/1959 Age: S6Y Patient Status: 0 Patient Type: O
Visit #: = 3644371 Sex; M Patient Location: OPR
Acc.: 10016287 Completed: 12/23/2015

Exam: (884) MRAVBRWO-  -MRA/MRV HEAD WO CONT

Requesting Provider: EFOBI,DEKA, MD MRN/PtNum: 0000764114

Attending Provider: EFOBI,DEKA,MD
305 WEST MAIN STREET
LEBANON, TN 37087

Diagnostic Report Text:

Clinical Diagnosis: CEREBRAL ISCHEMIC
ATTACK/HYPERLIPIDEMIA ;TC.

PROCEDURE: MRA HEAD WITHOUT CONTRAST
TECHNIQUE: Axial 3-D time-of-flight MR angiography of
the circle of Willis was performed. The source images

were reconstructed in various views using maximum
intensity projection. CPT 70544

HISTORY: Multiple episodes of right-sided weakness
and aphasia .

COMPARISONS: None.

FINDINGS:

Vertebral arteries: Normal .

Basilar artery: Normal .

Internal carotid arteries: Normal .

} Anterior cerebral arteries: Normal .

{ Middle cerebral arteries: Normal .

Posterior cerebral arteries: Normal . Posterior
communticating arteries not identified.
Branch occhisions: None .

Vascular malformations: None .

IMPRESSION: No significant intracranial arterial
abnomnality, Posterior communicating arteries not
identified.

Dictated By: Bermhard, Matthew
Signed By: Bernhard, Matthew

End of diagnostic reportfor accession: 10016287

Dictated By: BERNHARD, MATTHEW, MI
Transcribed By: Interfac, Powerscribe884, 884TRANS 12/23/2015 1:00 PM CST
Signed By: BERNHARD, MATTHEW, MD 12/23/2015 1:00 PM CST
12/23/2015 1:38 PM CST HMA_DiagnosticReportBatch_884.rpt Page 1 of 1

lof3 Case 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 10 of 58 PagelD #7;39@17 5-25 pm
John Ruffino Neurology Clinic Associates - 000012
2 of 3

Fax Server

DOB: 06/12/1959

Visit #: 364437]

Acc.: 10016286

Exam: (884) MRBRWW-

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12/23/2015 2:41:57 PM PAGE 2/004 Fax Server

Radiology Results

University Medical Center
1411 West Baddour Parkway, Lebanon, TN, 37087

Phone (615) 443-2583 Fax (615) 443-2536
Patient Name: RUEFINO, JOLIN J

Age: 56Y Patient Status: oO Patient Type: O
Sex: M Patient Location: OPR
Completed: 12/23/2015
- MR BRAIN W&WO CONT

Requesting Provider: EFOBI,DEKA, MD

Attending Provider: EFOBI,DEKA,MD
305 WEST MAIN STREET
LEBANON, TN 37087

MRN/PtNum: 0000764114

Diagnostic Report Text:

Clinical Diagnosis: CEREBRAL ISCHEMIC
ATTACK/HYPERLIPIDEMIA ;TC:

PROCEDURE: MRI BRAIN WITHOUT AND WITH CONTRAST
TECHNIQUE: Magnetic resonance imaging of the brain
was performed before and after the IV injection of 0.1
uunulkg patdinayielic vunlasl. CPT 70553

HISTORY: Multiple episodes of right-sided weakness,

numbness, and aphasia.
COMPARISONS: None .

FINDINGS:

Skull base, calvarium and sinuses: Nomnal .
Cerebellum: No evidence of hemorrhage, ischemia or

mass.

Brainstem: No evidence of hemorthage, ischemia or

mass.

Cerebrum: No evidence of hemorrhage, ischemia or
mass , Multiple bilateral scattered nonspecific foci
of T2/FLAIR signal hyperintensity, most pronounced
within the right centrum semiovale and bilateral

parietal temporal white matter.

Ventricles: .
Pituitary gland: Normal .
Globes and orbits: Normal .

Arterial and venous flow voids: Normal .

Abnormal enhancement: None .

Other: None .

IMPRESSION;

1. No evidence of acute intracranial abnormality.
2. Moderate nonspecific chronic white matter disease
as detailed above, likely microangiopathic changes ,

CRITICAL VALUE: No

Dictated By: Bemhard, Matthew

Signed By: Bemhard, Matthew

12/23/2015 1:38 PM CST

Case 3:17-cv-00725
John Ruffino

HMA_ DiagnosticReportBatch_884.rpt Page 1 of ]

Document 41-4

Filed 11/30/17 Page 11 of 58 PagelD #!@2037 5:25 PM
Neurology Clinic Associates - 000013
TriStar3\StoneCrest
MEDICAL CENTER

Patient: John Ruffino Medical Record Number: __ SM00254095
Facility: Tristar StoneCrest Medical Center Phone Number: __ 615-768-2800
Address: _200 Stonecrest Blvd City/State: _ Smyrna,TN Zip: _37167

CERTIFICATION OF MEDICAL RECORDS

To the best of my knowledge, the copied documents, records and other items enclosed are true and correct copies of all
original records identified and described in the subpoena duces tecum, patient authorization, or court order made by or at
the direction of the custodian of records. The original records were prepared in the ordinary course of the facility's
regularly conducted business at or near the time of the act, condition, or event by persons with knowledge of the facts
recorded, and the records have been maintained in the ordinary course of the facility’s regularly conducted business
according to all confidentiality and security requirements of law. This certification is given by the custodian of records
instead of the custodian’s personal appearance,

We are not aware of any omissions; however, due to the timing of this request it is possible that a portion of the medical
record may be incomplete and/or preliminary at this time.

The recipient of these records agrees to maintain their confidentiality and permit further disclosure only as authorized by
Jaw.

Selegt Only One:
The complete records consisting of 81 pages.

The complete records for the time period beginning and ending consists of pages.

CERTIFICATION OF NO RECORDS

© Athorough search of requested information carried out under my direction and control revealed that this facility does
not have the records described in the patient authorization or the subpoena duces tecum.

DECLARATION OF CUSTODIAN OF RECORDS

1, Melissa Gannon , am the duly authorized Custodian of Records of the above named facility. |am
familiar with the mode of preparation of, and have the authority to certify, the facility record. | declare under penalty of
perjury under the laws of the State of _ Tennessee , County of Rutherford that the

foregoing is true and correct.
lh boa Sino
Signature (LF Ip\ 1

Date
Subscribed and sworn to me, a notary public in and for said county, this 5 _ww/ Day wos {. 2014
gee oooune Oy Op, ~
# & STATE eB
Notary Publif, | 2 : 2
My commission expires: Que 14, 2018 B xy ds
Yn. “ 2S

fs re
Mngy a

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John Ruffino StoneCrest Medical Center - 000001

STIAC
Emergency Medical Condition (EMC) Identified: (Mark appropriate box; have physician certify if lc or Ld selected and then go to Section i.)
1. MEDICAL CONDITION: Diagnosis: __ ©

a. CNo Emergency Medical Condition Identified: This patient has been examined and an EMC has not been identified.

Screening Physician Signature: Date: / / Time: AM/PM
b. (] Unstable Patient, Request for Transfer: The patient has been examined and an EMC has been identified and the patient is not stable.
The hospital has the capability and capacity to provide the care needed but the patient has specifically requested to be transferred to
pation facility after being notified that the hospital can and is willing to provide the care neaded to stabillze and treat the EMC.
Cc

atient Stable For Transfer: The patient has been examined and any medical condition stabilized such that, within reasonable clinical
confidence, no material deterioration of this patient's condition is likely to result from or occur during transfer,
d. () Patlent Unstable: The patient has been examined, an EMC has been identified and patient is not stable, but the transfer is medically
indicated and In the best interest of the patient.
lc and Ld Physician Certification: / have examined this patient and based upon the reasonable risks and benefits described below and
upon the information available to me, | certify that the medical benefits reasonably expected trom the provision of appropriate medical
treatment at another facility outweigh th incroasgOTisk to this patient's medical condition that may result from effecting this transfer.
Physician Signature: 7 Date: JET 6 Time: {O56 awem

Pa Signature applies to any checked boxes.
ES). REASON FOR TRANSFER:
9) AL Medically Indicated 4S Patient Requested (see patient request documentation: Section Vil)
nu [] On-call physician refused or failed to respond within a reasonable period of time.
mm On-Call Physician Name: Address:
a ll RISKS AND BENEFITS FOR TRANSFER:
Medical Benefits: Medical Risks:
rept level of care/service ne avavable at this facility. 127 Deterioration of condition in route,
Service: Nev 0 4 Worsening of condition or death If you stay here,
{1 Medical benefits outweigh he risks. Li] Risk of traffic delay/accident resulting in condition deterioration or death.
{] Other: C] Other:

IV, MODE/SUPPORT DURING TRANSFER AS DETERMINED BY PHYSICIAN:
Mode of transp Bare yen for transfer; [BLS GAL) CJ Hellcopter ([} Neonatal Unit [J Other:

Agency: Name/Title of accompanying hospital employee if required:

Support/Treatment duringransfer: 6¢ Cardiac Monitor pxOxygen: Lz CIV Pump

IV Fluid: Cal wg | orate: C) Restraints - Type: (1) Other: () None
Transferring Physician Signature if different from Certifying Physician: Date: / Time: AM/PM
If no physician immediately available, transfer eo by Qualified Medical Provider per Dr.

QMP Signature: Date: me: AM/PM
Authorizing Physician Signature: Ct Date: SITIO rime AM/PM

V. RECEIVING FACILITY AND INDIVIDUAL: The receiving facility has the capability for the treatment of this patient (including adequate
equipment and medical Porsonnel 9ne has agreed to accept the cn Bele provide appropriate medical treatment.
Receiving Facility: U¢ whi un Person accepting TXFR: C & Date: / / Time: AM/PM

Oo] ReceivingMd:_ Bal. Date: 2 / ee time: {5 7 AM/PM
rs Questions regarding Madication Reconciliation Information may be directed to __, or Transferring Physician.
3 Vi. ACCOMPANYING DOCUMENTATION sent via: € Patient/Responsible Party (] Fax KCTransporter
fa Documentation includes: () Copy of Medical Record AQLab/ EKG/ X-Ray PXCopy of Transfer Form
4 piMedication Reconciliation Information Sere Dirgctive ely
Report given to: (Persondiitlay; _{ Cliewen Sch Yen, aft \ =
Time of Transfer. BtCS date: ZIV Nurse Sonate: fraagferring Unit: C7
Vital Signs Just Prior to Transfer: Temp1, Pulse: ( P: s3) po2% C7 Dit Time:Z1 90> AMPA)

VU. PATIENT CONSENT TO MEDICALLY INDICATED TRANSFER or PATIENT REQUEST FOR TRANSFER:
areby CONSENT TO TRANSFER to another facility. | understand that it is the opinion of the physician responsible for my care that the
benefits of transfer outweigh the risks of transfer, | have been informed of the risks and benefits of this transfer.

OQ hereby REQUEST TRANSFER to . | understand and have considered the hospital's EMTALA
responsibilities that have been explained to me, the medical risks and benefits of transfer and the physician’s recommendation. | make this
request upon my own suggestion and not that of the hospital, physician or anyone associated with the hospital. | agree to accept the risks
associated with my decision.

The reason | Pa transfer is:

ae

wena atignt Ped nsible’Person: Goh {aa Relationship to patient: Self
Witness; J Sateen Partie fr © "_\oate: DNV | Tim Time: le LS Adem)

PATIENT IDENTIFICATION. a

'

RUFFINO, JOHN JAMES

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02/17/16 0949 Bennett Julian NO
“ee 008:06/12/59 56 MMR SMOD254095

PRIEWTDA DinimneAePTaT bare 17 Mebda7 HA GUHA ATA

TEMBER @H9.y-00725 Document 41-4. Filed 11/30/17. Page 13 of 58 PagelD #: 395
John Ruffino StoneCrest Medical Center - 000004

STONECREST MEDICAL CENTER (COCSY)
EMERGENCY PROVIDER REPORT
REPORTH:0217-0175 REPORT STATUS: Signed
DATE:02/17/16 TIME: 1400

PATIENT: RUFFINO, JOHN JAMES UNIT #: SM00254095
ACCOUNT#: SM0509454079 ROOM/BED: SM.EROS5-A

AGE: 56 SEX: M PCP PHYS: NO PRIMARY OR
PAMILY PHYSICIAN

SERVICE DT: 02/17/16 AUTHOR: Archer,Clark E MD
REP SRV DT: 02/17/16 REP SRV TM: 1400

* ALL edits or amendments must be made on the electronic/computer
document *

**See Addendum**
HPI-Stroke/CVA

General
Initial Greet Date/Time 02/17/16 0958
Assumed Care at

Time 1220

Presentation

Chief Complaint: Right Side Weakness, face, slurred speech
Sudden in Onset? Yes (0830)

Onset Occurred Today

Symptom Duration Since onset

Progression since Onset \Vaxes and wanes

Location Face

Radiation Does not radiate

Exacerbated by Nothing

Relieved by Nothing

Context
Recent Healthcare Recent testing, Previous diagnosis, Prior workup

Risk-Stroke/CVA

Risk Stratification
NIH Stroke Scale
Value 4

Review of Systems
ROS Statements

Page 1 of 7

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John Ruffino StoneCrest Medical Center - 000005
Patient: RUFFINO, JOHN JAMES
Unit#:SM00254095

Date: 02/17/16
Acct#:SM0509454079

All systems rev & neg except as marked.

Past Medical History - Adult
Stated Complaint DIZZINESS
Allergies

Coded Allergies:

No Known Allergies (02/17/16)

Past Medical History;
Reports: Hyperlipidemia, Hypertension.
Past Surgical History:
Reports Cholecystectomy
Patient History
Relation not specified for:
Family History: Unremarkable

Smoking status for patients 13 Current every day smoker

Physical Exam

Initial Vital Signs

Vital Signs

First Documented:

Result | Date Time
Pulse Ox 97 | 02/17 0956

B/P 187/89 | 02/17 0956
Temp 97.7 | 02/17 0956
Pulse 66 102/17 0956
Resp 189 [02/17 0956

Last Documented:

Result | Date Time
Pulse Ox 97 102/17 1222

B/P 150/79 [02/17 1222
Pulse 56 {02/17 1222
Resp 16102/17 1222
Temp 97.7 [02/17 0956

All vital signs available at the time of this entry have been reviewed.

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John Ruffino StoneCrest Medical Center - 000006
Patient: RUFFINO, JOHN JAMES
Unit#:SM00254095 ©

Date: 02/17/16
Acct#:$M0509454079

Basic Physical Exam

Basic PE ENT: Membranes moist, ABD: Soft/non-tender, ABD: Normal bowel sounds,
LYMPH: No adenopathy, EXT: NL inspection, EXT: Neurovascular intact, SKIN: No rashes,

warm/dry, PSYCH: NL thought content

Focused PE
General/Const **

General/Const Awake, Alert, Well appearing, Well developed, Well hydrated

Head/Eyes wea

Head/Eyes Atraumatic, Normocephalic, PERRL, EOMI, No nystagmus

ENT

ENT Atraumatic, Airway patent, Mucous membranes moist, Pharynx NL, No peritonsillar

abscess
Neck *R

Neck Atraumatic, Supple, No meningismus, Full range of motion, No adenopathy

Resp/Chest  **

Respiratory/Chest Atraumatic, Breath sounds NL, Breath sounds = bilat, No respiratory
distress, No rales, No rhonchi, No wheezing, No retractions

Cardiovascular **

Cardiovascular Heart rate NL, Regular rhythm, Heart sounds NL, No gallop, No murmurs

Abdomen/GI

Abdomen/GI Atraumatic, Soft, Non-tender, McBurney's non-tender, No guarding

Neurologic *
Neurologic Oriented X3
Speech
Slow, Slurred.

Interpretation & Diagnostics

Lab Results Interpretation
Results
Laboratory Tests

02/17/16 1015:

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3.7 | 20 | 11

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Case 3:17-cv-00725 Document 41-4
John Ruffino

Filed 11/30/17 Page 16 of 58 PagelD #: 398
StoneCrest Medical Center - 000007
Patient: RUFFINO, JOHN JAMES
Unit#:SM00254095
Date: 02/17/16
Acct#:SM0509454079
Laboratory Tests:
02/17 02/17
1015 1200
Chemistry
Sodium (136 - 145 mmol/L) 137
Potassium (3.5 - 5.1 mmol/L) 3.7
Chloride (98 - 107 mmol/L) 100
Carbon Dioxide (23 - 29 mmol/L) 25
Anion Gap 72
BUN (6 - 20 mg/dL) 17
Creatinine (0.9 - 1.3 mg/dL) 1.1
GFR Calculation 89
Glucose (74 - 106 mg/dL) 121 H
Calcium (8.6 - 10.0 mg/dL) 9.1
Total Bilirubin (0.3 - 1.2 mg/dL) 0.8
AST (8 - 40 U/L) 20
ALT (10 - 40 UA) 22
Alkaline Phosphatase (38 - 126 U/L) / |
CK-MB (CK-2) (0.3 - 4.0 ng/mL) 1.6
Troponin | (0.00 - 0.03 ng/mL) 0.01
Total Protein (6.4 - 8.3 g/dL) 6.9
Albumin (3.5 - 4.8 gm/dL) 4.0
Globulin (gm/dL) 2.9
Albumin/Globulin Ratio 1.4
Coagulation
INR (0,9 - 1.1) 0,95
PT Patient/Control Mix (9.5 - 11,6 SECONDS){ 10.1
Hematology
ps WBC (3.5 - 12.5 k/ul) 6.6
RBC (4.5 - 6.1 M/uL) 4.84
Heb (14.0 - 17.5 g/dl) 14.4
Hct (42.0 - 52.0 %) AL7L
MCV (80 - 100 fL) 86.2
MICH (25 - 34 pg) 29.8
MCHC (32 - 36 g/dL) 34.5
Plt Count (145 - 483 k/ul) 226
Neutrophils % (35 - 83 %) 70.2
Lymphocytes % (13.5 -45.1 %) 20.8
Monocytes % (0 - 14 %) 77
Eosinopnils % (0 - 6 %) 1]
Basophils % (0 - 2 %) 0.2
Toxicology
Page 4 of 7
PRINTED BY: bpa9869 DATE 1/5/2017

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John Ruffino StoneCrest Medical Center - 000008
Patient: RUFFINO, JOHN JAMES
Unit#:SM00254095

Date: 02/17/16
Acct#:SM0509454079

Urine Opiates Screen (NEGATIVE) NEGATIVE
Ur Methadone, Qual (Negative) NEGATIVE
Ur Barbiturates, Qual (NEGATIVE) NEGATIVE
Ur Amphetamine Screen (NEGATIVE) NEGATIVE
U Benzodiazepines Sern (NEGATIVE) NEGATIVE
Urine Cocaine (NEGATIVE) NEGATIVE
Urine Cannabinoids (NEGATIVE) NEGATIVE.

Urines
Urinalysis MICRO NOT PERFORMED
Urine Color (YELLOW) Straw
Urine Appearance (CLEAR) Clear
Urine pH (5.0 - 8.0) 6.0
Ur Specific Gravity (1.007 - 1.035) 1.014
Urine Protein (NEG MG/DL) Negative
Urine Glucose (UA) (NEG MG/D) Negative
Urine Ketones (NEG) Negative
Urine Blood (NEG) Negative
Urine Nitrite (NEG) Negative
Urine Bilirubin (NEG) Negative
Urine Urobilinogen (NEG MG/DL) <0,2
Ur Leukocyte Esterase (NEG) Negative

Recent Impressions:
COMPUTERIZED TOMOGRAPHY - CT HEAD W/O CONTRAST = 70450 02/17 1000

*** Report Impression ~ Status: SIGNED Entered: 02/17/2016 1037

Impression: There is no acute intracranial abnormality. Otherwise as
above..

Impression By: DR.PARKE1 - Keith R. Parker, MD —

RADIOLOGY ~- XR CHEST 1 VIEW PORT = 71010 02/17 1014

*** Report Impression - Status: SIGNED Entered: 02/17/2016 1017

IMPRESSION: Slightly limited by suboptimal inspiration, but no
abnormality is demonstrated.

Impression By: DR.BAKJA - Jack R. Baker, MD

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‘John Ruffino StoneCrest Medical Center - 000009

Patient: RUFFINO, JOHN JAMES
Unit#:SM00254095

Date: 02/17/16
Acct#:SM0509454079

Re-Evaluation & MDM

ED Course

Medication(s) Ordered
Medication(s) Ordered:
Electrolytic, Caloric, And Wat

Sig/Sch Start time Last
Medication Dose Route Stop Time — Status | Admin
Sodium Chloride }3 ML ASDIR PRN]02/T7 TOOT AC

IV 04/17 1000

Consultation

Consultation
Consultant Called Neurology
Call Returned Call returned

Patient Discharge & Departure

Vital Signs/Condition
Vital Signs
First Documented:

Result | Date Time
Pulse Ox 97102/17 0956

B/P 187/89 102/17 0956
Temp 97.7 |O2/17 0956
Pulse 66|02/17 0956
Resp 189 102/17 0956

Last Documented:

Result [Date Time
Pulse Ox 97102/17 1222

B/P 150/79 [02/17 1222
Pulse 56/02/17 1222
Resp 16|02/17 1222
Temp 97.7 (02/17 0956

All vital signs available at the time of this entry have been reviewed.

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John Ruffino StoneCrest Medical Center - 000010
Patient: RUFFINO, JOHN JAMES
Unit#:SM00254095

Date: 02/17/16
Acct#:SM0509454079

Clinical Impression
Clinical Impression
Primary Impression: TIA / CVA SYNDROME, ACUTE

Disposition Decision
Admit
\( Admission Accepts Yes .
\ Accepted Time 1411
\ Accepted Date 02/17/16
Call Information will see patient

Critical Care

Time Spent 30-74 minutes

Services Performed Patient management by me, Time spent at bedside, Reviewing test
results, Reviewing imaging, Discussing patient care, Documentation in record, Time with
fam/surrogate, no tpa recommended by dr chitturi:

Electronically Signed by Archer,Clark E MD on 02/17/16 at 1411

Addendum 1: 02/17/16 1608 by Archer,Clark E MD

DISCUSSIONS WITH DR FRANKLIN/CHITTURI: FELT BEST FOR TRANSER DOWNTOWN
TO HIGHER LEVEL OF CARE / NEURO ICU, PT AND FAMILY REQUESTING SAME,

Electronically Signed by Archer,Clark E MD on 02/17/16 at 1609

RPT #: 0217-0175
*#**END OF REPORT**¥*

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John Ruffino StoneCrest Medical Center - 000011
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Filed 11/30/17

Document 41-4

John Ruffino
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StoneCrest Medical Center - 000015

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John Ruffino
LTOS/S/T

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StoneCrest Medical Center - 000016

John Ruffino
LTOC/S/T ALVG 69e6edq:xq CaLNIud

papuozay Pessno3g
ALY URIg/MoBse[9 /* S49 OYNGN

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StoneCrest Medical Center - 000017

John Ruffino
LTOC/G/T ALVG

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StoneCrest Medical Center - 000018

John Ruffino

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Jas ay Beg
Papuoray

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YENOd THON 7 - HISNGLS 5e7
YSMOd TWAHON <7 - HESNaULS 527
EANCHIS ©H - dIHS puey

SNOUIS T1- dIuo puey

GNOd TWRHON 78 - HLSNGUES wu
WANGd TWREON +1 - HISNTUIS wuy
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Ry :ssauea tsuodsay

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§ 4-H

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GI SWIOL 3122S Buog MoBse 15

ATSAOINYLNOdS Usdp -BuLusdo 449

SPURUEDD SAIGO “YOON 452g

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StoneCrest Medical Center - 000019

John Ruffino

LTOC/G/T ALvd

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JOS] SUL 332] J2Sf] SLL 372]
Peprcosy PaLinoag

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THON U0LeSLES

USNOd TWRION FU > HLSNaYIS 627

WGNOd THHION <7 - HLSNRIS 627

ONQUS Y > dio puey

- ONOHLS <1 - diwS puey
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Filed 11/30/17

Document 41-4

Case 3:17-cv-00725

Page 27 of 58 PagelD #: 409

StoneCrest Medical Center - 000020

John Ruffino
STONECREST MEDICAL CENTER Name: RUFFINO, JOHN JAMES

MEDICAL IMAGING Phys: Archer,Clark BE MD

200 STONECREST BLVD DOB: 06/12/1959 Age: 56 © Sex: M

SMYRNA, TN 37167 Acct: SM0509454079 Loc: SM.EROS A

PHONE {f: 615-768-2370 Exam Date: 02/17/2016 Status: ADM IN
FAX #:. Radiology No:

Unit No: SM00254095

EXAMS: Reason: CPT:
000822509 CT ANGIO HEAD W/WO CON NEU - Neurological Deficit 70496

CTA head with/without contrast
Comparison: CT head at 1029 hours.
History: Dizziness.

Technique: Noncontrast CT brain performed earlier today. Subsequently
helical images obtained through the brain following dynamic
intravenous administration of 100 cc Tsovue-370 contrast. Image
postprocessing including MIPs and3D reconstructions performed on
independent workstation.

CTA head: There is abrupt, complete occlusion of the LEFT MCA. proximal
M2 segment. There is a paucity of vascularity in the LEFT MCA
territory. The other major cerebral vessels are widely patent. The
basilar artery and its bifurcation are unremarkable. The anterior
communicating artery is patent and the posterior communicating
arteries are not visualized. The dural venous sinuses are patent. No
aneurysm, vascular malformation, or abnormal enhancement..

Impression: There is complete occlusion of the proximal LEFT MCA M2
segment.

Case discussed with Dr. Clark EB Archer, MD at 2/17/2016 3:17 PM.

Result Code: (CR) CRITICAL RESULT

CTA neck with and without contrast
Comparison: None available.
History: Right-~sided weakness and slurred speech.
Technique: Noncontrast localizer images obtained. Subsequently,
helical images obtained from superior mediastinum through skull base
following dynamic intravenous administration 100 cc Isovue-370
contrast. Image postprocessing including MIPs and multiplanar 3D

reconstructions.

Nonvascular findings: No acute abnormality.

Arch: Normal caliber and configuration. No high-grade stenosis of the
brachiocephalic vessels.

PRINTED gt ppaneighd: Widelynggt ents ppighty mild calcific plaque proximal ICA.

e 3:17-cv-00725 Document 41-4 Filed 11/30/17 Page 28 of 58 Pag ALO
a uffino Bifgned REPOr TS onecrest Medical Center - SaAuee
STONECREST. MEDICAL CENTER Name: RUFFINO, JOHN JAMES

MEDICAL IMAGING Phys: Archer,Clark E MD

200 STONECREST BLVD DOB: 06/12/1959 Age: 56 Sex: M

SMYRNA, TN 37167 Acct: 8M0509454079 Loc: SM.EROS A

PHONE #: 615-768-2370 Exam Date: 02/17/2016 Status: ADM IN
FAX df: Radiology No:

Unit No: SM00254095

EXAMS: Reason: CPT:

000822509 CT ANGIO HEAD W/WO CON NEU - Neurological Deficit 70496
<Continued>

Left Carotid: Widely patent with minimal calcific plaque at the

bifurcation.

Right Vertebral: Widely patent, codominant.

Left Vertebral: Widely patent, codominant.

Impression: No occlusion or hemodynamic stenosis..

** Rlectronically Signed by Keith R. Parker MD on 02/17/2016 at 1518 **
Reported and signed by: Keith R. Parker, MD

CC: NO PRIMARY OR FAMILY PHYSICIAN; SELP REFERRED

Technologist: Chad Robinette,ARRT(R,CT); Kiwaski Vaughn
Transcribed Date/Time: 02/17/2016 (1455)

CTDI:21.70 DLP: 884.37

Electronic Signature Date/Time: 02/17/2016 (1518)

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Case 3:17-cv-00725 Document 41-4 File" #3671 7/Apage 29 of 58 PagelD #: 411
. John Ruffino ae Le .StoneCrest Medical Center - 000066
STONECREST MEDICAL CENTER Name: RUFFINO, JOHN JAMES

MEDICAL IMAGING Phys: Raad,Osman K DO

200 STONECREST BLVD DOB: 06/12/1959 Age: 56 Sex: M

SMYRNA, TN 37167 Acct: SM0509454079 Loc: SM.ER

PHONE #: 615-768-2370 Exam Date: 02/17/2016 Status: REG ER
FAX #: Radiology No:

Unit No: SM00254095

EXAMS: Reason: CPT:
000822440 CT HEAD W/O CONTRAST dizzy 70450
CT head without contrast
Comparison: None available.
Indication: Dizziness.

Technique: Axial images obtained from skull base through calvarium
without contrast.

Findings:

Cerebrum: There is age-appropriate atrophy.. There is no intracranial
hemorrhage or midline shift. No periventricular deep white matter
changes..

Posterior fossa: No hemorrhage. The basilar cisterns are maintained.
There is a prominent cisterna magna. There is calcific plaque of the
distal LEFT vertebral artery..

Ventricular system: Normal.

Calvarium, sinuses, and skull base: Unremarkable.
The internal auditery canals are normal.
Impression: There is no acute intracranial abnormality. Otherwise as

above...

“* Electronically Signed by Keith R. Parker MD on 02/17/2016 at 1035 **
Reported and signed by: Keith R. Parker, MD

CC: Mark NP Reinhardt
Technologist: Chad Robinette, ARRT (R,CT)

Transcribed Date/Time: 02/17/2016 (1026)

CTDI:50.75 DLP:817.20

Electronic Signature Date/Time: 02/17/2016 (1035)

Orig Print D/T: S: 02/17/2016 (1037)

PRINTED BY: bpa9869 DATE 1/5/2017 BATCH NO: N/A

Case 3:17-cv- - .
e cv 00725 Document 44:4 ned BG L1/80/17 Page 30 of 58 PagelD #: 412
ohn Ruffino StoneCrest Medical Center - 000067

STONECREST MEDICAL CENTER Name: RUFFINO, JOHN

MEDICAL IMAGING Phys: Raad,Osman K DO

200 STONECREST BLVD DOB: 06/12/1959 Age: 56 Sex: M

SMYRNA, TN 37167 Acct: SM0509454079 Loc: SM.ER

PHONE #: 615-768-2370 Exam Date: 02/17/2016 Status: PRE ER
FAX #: Radiology No:

Unit No: SM00254095

‘EXAMS: Reason: CPr:
000822441 XR CHEST 1 VIEW PORT CP - Chest Pain 71010
AP PORTABLE CXR 10:15 AM 2/17/2016
HISTORY: CP - Chest Pain
COMPARISON: none

FINDINGS: The heart size is normal. The lungs are clear. The
inspiration is limited.

IMPRESSION: Slightly limited by suboptimal inspiration, but no
abnormality is demonstrated.

** Blectronically Signed by Jack R. Baker MD on 02/17/2016 at 1015 **
Reported and signed by: Jack R. Baker, MD

CC: Mark NP Reinhardt
Technologist: Morgan Holmes, RT (R)

Transcribed Date/Time: 02/17/2016 (1015)
Electronic Signature Date/Time: 02/17/2016 (1015)
Orig Print D/T: S: 02/17/2016 (1017)

- BATCH NO: N/A

PRINTED BY:bpa9869 DATE 1/5/2017
Case 3:17-cv-00725 Document 41-4 iled 11/30/17 Page 31 o0f58P ID #: 413
Pohn Ruffino pigne Keport ' ore

StoneCrest Medical Center - 000068
Patient: Ruffino, John Medical Record Number: __ _M001949828

Facllity: Centennial Medical Center Phone Number: 615-695-8700
Address: __ 2300 Patterson St City/State: __ Nashville, TN Zip: 37203

CERTIFICATION OF MEDICAL RECORDS

To the best of my knowledge, the copled documents, records and other items enclosed are true and correct coples of all
original records Identified and described In the subpoena duces tecum, patient authorization, or court order made by or at
the direction of the custodian of records. The orlginal records were prepared in the ordinary course of the facility's
regularly conducted business at or near the time of the act, condition, or event by persons with knowledge of the facts
recorded, and the records have been maintained In the ordinary course of the facility’s regularly conducted business
according to all confidentiality and security requirements of law. This certification is glven by the custodian of records
Instead of the custodian’s personal appearance.

We are not aware of any omissions; however, due to the timing of this request it ls possible that a portion of the medical
record may be incomplete and/or preliminary at this time.

The Custodian hereby certifies the amount charged for production of the requested records is reasonable within the
standards of the community and other similarly situated Hospitals.

The recipient of these records agrees to maintaln thelr confidentlality and permit further disclosure only as authorized by
law.

Select Only One:

The complete records consisting of __923 pages.

The complete records for the time period beginning and ending consists of pages.
The copled records consist of pages per your request for specific portions of the medical record,

The copled records consist of pages. They are incomplete In the

following:

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CERTIFICATION OF NO RECORDS

© Athorough search of requested Information carried out under my direction and control revealed that this facility does
not have the records deserlbed In the patient authorization or the subpoena duces tecum.

DECLARATION OF CUSTODIAN OF RECORDS

\, Dene Danitz , am the duly authorlzed Custodian of Records of the above named facility. 1am familiar with
the mode of preparation of, and have the authority to certify, the facility record. | declare under penalty of perjury under

the laws of the State of__ 1 & Ave SSee. _; County of David sr that the foregoing Is true and correct.
(ofr {\)
Signature 4 Date

FOO ICS I IOS UOC RIO I AE BIO IGIOII R I NOE e®

Subscribed and sworn to me, a notary public In and for sald county, this Day of 20.

Notary Public
My commission expires:

. (Seal)
in states where a Notary Is not required, this form will only include signature and date of the medical record custodian,

Case 3:17-cv-00725 Document 41-4 Filed 11/entennial Medical Gentes «| PP0094 4

CENTENNIAL MEDICAL CENTER
2300 Patterson Street
Nashville, TN 37203

*eeKHTSTORY AND PHYSICAL****
ROOM: M.NSO3-A
STATUS: ADM IN
PATIENT: RUFFINO,JOHN JAMES
MR#: M001949828
Acc#: M0Q0158587645
DOB: 06/12/59
PHYSICIAN: Akanbi,Olabisi O MD

DATE OF ADMISSION: 02/17/16

DATE OF ADMISSION:
February 18, 2016

The patient was transferred from StoneCrest.
The patient was then seen by me on February 18, 2016.

CHIEF COMPLAINT :
The patient was transferred from Stonecrest where stroke was diagnosed.

HISTORY OF PRESENT ILLNESS:

The patient is a 56-year-old Caucasian male with medical history significant for
hypertension and hypercholesterolemia, who presented to StoneCrest ED on account
of dizziness and slurred speech with facial muscle weakness as well. This was
started around 8 p.m. yesterday morning. The patient is, however, a poor
historian, so history was obtained by chart review and also from wife. The
patient stated that he has been having these acute events with speech difficulty
and facial weakness of unknown for the past 1 month. He has had about 3
episodes so far, which really lasted for about 3 to 5 minutes and resolved
completely afterwards. The patient was presented to the StoneCrest medical
facility way way after the thrombolytic window and at that time, CT head was
done, which did not show any intracranial abnormalities and also a CTA was done,
which did not show any significant stenosis. The patient at presentation was
still having the right facial weakness and droop wit slurred speech with some
expressive aphasia. The history, patient woke up with above listed symptoms in
the morning. At Lebanon University Medical Center, he was worked up extensively
with MRI brain and MRA of the brain as well with negative findings. He was
given aspirin at that time and was treated for possible seizures with
gabapentin.

The patient was subsequently transferred to Centennial Medical Center, it has to
be reviewed by the neurologist over here.

PAST MEDICAL HISTORY :
1. Hypertension. .
2. Hypercholesterolemia.

PAST SURGICAL HISTORY:
Noncontributory.

PT: RUFFINO, JOHN JAMES UNIT: M001949828 ACCT: M00158587645

Patient: RORFIRC! JANCAKAS MERE THORILAA Enooblled Ad RRRReeriAnsteser at Seiten neg s
FAMILY HISTORY : . .
Noncontributory, patient is a poor historian.

SOCIAL HISTORY:
The patient says he does | not smoke or drink alcohol, use illicit drugs.

REVIEW OF SYSTEMS:

The 12-point review of system done was negative except for the findings as
stated in the history of present illness. No more details could be collected
due to the patient's aphasia.

PHYSICAL EXAMINATION:

VITAL SIGNS: Temperature is 97.7, pulse rate is 58, respirations are 18, blood
pressure is 133/77 with 02 sat of 97.

GENERAL: Alert and oriented x3, not in any cardiopulmonary distress, lying in
bed calmly.

HEENT: No pallor, anicteric, or cyanosed. No oropharyngeal exudates. Pupils
were reactive to light and accommodation. extraocular muscles are intact.

NECK: No neck pain. No JVD.

CARDIOVASCULAR: S1, $2, no murmur.

RESPIRATORY: Intact. Clear to auscultation bilaterally.

MUSCULOSKELETAL: The patient has right-sided weakness, also facial droop on the
face. The patient favors use on the left hand more than the right.

NEUROLOGIC: The patient is alert, awake, and oriented x3, has some language
difficulties and dysarthric especial ly about his problems. Pupils were reactive
to light and accomodation. The patient has facial weakness on the right side

of the face and tongue is stil] midline. Muscle bulk and tone are still fine

and has some mild weakness on the proximal and distal right muscles. Gait

could not be assessed at this time.

LABORATORY DATA:

1. WBC 6.6, hemoglobin is 14.4, hematocrit is 41.7 with platelets of 226.

Troponin was 0.01. CMP: sodium is 137, potassium is 3.7, chloride is 100,

bicarb is 25, BUN 17, and creatinine is 1.1 with glucose of 121, INR is 0. 9,
Chest x- ray shows no abnormality.

3 cT head shows no acute intracranial abnormality.

4. CTA head shows no signs of stenosis.

5. UA was negative.

6. UDS was negative.

SUMMARY : . .
The patient is a 56-year-old Caucasian male, admitted on account of stroke.

PLAN:

1. Presently, the patient will be admitted for conservative management as
patient has passed the window for thrombolytics. We will go ahead and get an
MRI of the brain to access for any acute_ischemic changes.

‘2. We are going to get neurologic consult for review.

3 We are going to place the patient on IV normal saline to run at 125 mt an
our.

4. We are going to allow for permissive hypertension for now to encourage

PT: RUFFINO,JOHN JAMES UNIT: M001949828 ACCT: M00158587645

Patient: RUPFIRIG: JGNN IAMS MR THO Td 28 Encode hobteeesroae deesicat Sawai e RRO PS
cerebral perfussion.

> we are going to wake patient up for getting Alc, lipid panel, also monitor
1s CBC.

6. We are going to get swallow study in patient as well.

7. We are going to physical therapy, occupational and speech therapy as well.
8. Deep venous thrombosis prophylaxis as Lovenox.

9. Code status is FULL CODE.

DD:02/18/2016 08:40:12 DT:02/18/2016 11:31:03 SGSNASHHSC ; Job#2899500
Authenticated and Edited by Olabisi O Akanbi, MD On 2/21/16 10:20:44 Am

Olabisi O Akanbi, MD
REPORT ID: 0219-0094

Electronically Signed by Olabisi O Akanbi, MD on 02/21/16 at 1025

PT: RUFFINO, JOHN JAMES UNIT: MOQ01949828 ACCT: MO0158587645

Patient: RARE INCL SONNCAMES Mere Thtofedoszs Encolil Se ddbteneevess e Hest Semester ag
|

CENTENNIAL MEDICAL CENTER (COCCT)
Neurology Consultation Note
REPORT#:0218-0236 REPORT STATUS: Signed
DATE:02/18/16 TIME: 0829

PATIENT: RUFFINO, JOHN JAMES UNIT #: M001949828
ACCOUNT#: M00158587645 ROOM/BED: M.NSO3-A

DOB: 06/12/59 AGE: 56 SEX: M ATTEND: Nottidge, Michael
E., MD

ADM DT: 02/17/16 AUTHOR :
Jarquin-Valdivia,Adrian A MD

REP SRV DT: 02/18/16 REP SRV TM: 0829

* ALL edits or amendments must be made on the electronic/computer
document *

History of Present Illness

Requesting clinician: Dr Paranjepe

Reason for consult:

stroke

Chief complaint:

stroke

HPI:

The patient is a 56 year-old right-handed, married, truck driver, smoker, man.

Since around December 2015, he has been having episodes of right hemmiparesis and
aphasia/dysarthria, the episodes would be self-limited, and last for about 10-15 minutes. The
episodes have been stereotypical.

The night before yesterday, he went to bed in usual state of health, in the morning yesterday,
he got ready to go to work at that time the wife noted that the patient was not speaking
normal and that he was confused. At about 08:00 hrs, while at work, he had increased
right-sided weakness and aphasia/dysarthria.

MH: obese, smoker, hypertension, dyslipidemia,
SH: chole
SocH: +smoker, no alcohol, no illicits, employed,

History

Past History
Family history:
MOTHER

Family History: Cancer, Onset: 60+.
FATHER

Family History: Cancer, Onset: 60+.
Relation not specified for:

Family History: Unremarkable

Medications:

Page 1 of 10

Oo SGNNPIAMES MBN SHO F $1088 Encounter hoteeeey eee Ghestral Semanc hers
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acct#:M00158587645

Home Medications:

Medication Dose/Rte/Freq Days | Qty|Entered |Last
Reviewed
Lisinopril (Zestril) 40 MG PO DAILY 02/17/16 | 02/18/16
Strength: (Unknown Strength) TAB 2315 1138
Tamsulosin (Flomax) 0.4 MG PO DAILY 02/17/16 | 02/18/16
Strength: (Unknown Strength) CAP 2316 1138
Gabapentin (Neurontin) 300 MG PO 02/17/16| 02/18/16
Strength: (Unknown Strength) CAP| DAILY 2100 2317 1138
Aspirin 81 MG PO DAILY 02/17/16| 02/17/16
Strength: 81 MG TAB 2319 2319
Atorvastatin (Lipitor) 10 MG PO DAILY 02/17/16| 02/18/16
Strength: (Unknown Strength) TAB 2320 1138
Ibuprofen (Motrin) 800 MG PO TID 02/18/16 | 02/18/16
Strength: 800 MG TAB 1138 1138
Current Hospital Medications:
Anti-Infective Agents
Sig/Sch | Start time Last
Medication Dose Route |Stop Time | Status | Admin
Minocycline HC] 200 MG |DAILY | 02/18 1430] CAN
(MINOCYCLINE HCL) PO 02/21 0901
Minocycline HCI 200 MG | DAILY |02/18 1209/CKD | 02/18
(MINOCYCLINE HCL) PO 02/22 0901 1305
Autonomic Drugs
Sig/Sch Start time Last
Medication Dose | Route Stop Time | Status | Admin
Phenylephrine HCl 30 MG} ASDIR PRN 02/18 1930} CKD
(PHENYLEPHRINE HCL) IV 04/18 1931
Sodium Chloride 250 ML
(SODIUM CHLORIDE
0.9%)
Phenylephrine HCl 0|.STK-MED ONE [02/18 1703 | DC 02/18
(PHENYLEPHRINE IV 1715
SYRINGE 0.1MG/ML)
Blood Formation,Coagulation &
Sig/Sch | Start time Last
Medication Dose Route [Stop Time | Status | Admin
Enoxaparin Sodium|40 MG | Q24H | 02/18 0600 | AC 02/18
(LOVENOX) SUBQ (04/18 0601 0555
Page 2 of 10
: -cVy- - An
Patient: RUBEING, JONNLIAMES MENT Md 040838 Encounter MOO ISSE7O4G wo TO Page A] or doy
Patient: RUFFINO,JOHN JAMES
Unit#:M001949828

Date: 02/18/16
Acct#:M00158587645

Cardiovascular Drugs

Sig/Sch Start time Last
Medication Dose | Route Stop Time | Status | Admin
Lisinopril 40 MG | DAILY 02/19 0900 | AC
(PRINIVIL) PO 04/19 0901
Tamsulosin HCI 0.4 MG | DAILY 02/19 0900} AC
(FLOMAX 0.4 MG) PO 04/19 0901
Atorvastatin Calcium 40 MG] BEDTIME 02/18 2100} AC
(LIPITOR) PO 04/18 2101
Lidocaine HCl 0) .STK-MED ONE [02/18 1827|DC 02/18
(LIDOCAINE HCL 2%) INJ 1921
Atorvastatin Calcium | 10 MG) DAILY 02/18 1219| CAN
(LIPITOR) PO 04/18 1220
Central Nervous System Agents
Sig/Sch | Start time Last

Medication | Dose Route |Stop Time | Status | Admin
Aspirin 325 MG| DAILY [02/18 1100; AC 02/18

(ASPIRIN) PO 04/18 1101 1044
Aspirin 300 MG|DAILY [02/18 0900 |DC
(ASPIRIN) RECTAL | 04/18 0901
Diagnostic Agents
Sig/Sch Start time Last
Medication Dose _ | Route Stop Time | Status | Admin
lopamidol © |40 ML|.STK-MED ONE |02/18 1254) DC 02/18
(ISOVUE-3 70) IV 02/18 1255 1254
Electrolytic, Caloric, And Wat
Sig/Sch Start time Last
Medication Dose Route Stop Time | Status | Admin
Sodium Chloride 500 ML} BOLUS ONE]02/18 1207/DC 02/18
(SODIUM CHLORIDE IV 02/18 1236 1305
0.9%)
Sodium Chloride 1,000 ML .Q8H/02/18 0304 | AC 02/18
(SODIUM CHLORIDE IV 04/18 0305 1922
0.9%)
Gastrointestinal Drugs
Sig/Sch | Start time - |Last
Medication Dose Route |Stop Time {Status | Admin

Page 3 of 10

Patient: ROEFING: JOMN IANS MERE THUD Polos Encobtled oGTee rere toe oe et Se ee TE TeO
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acct#:M00158587645

Docusate Sodium 100 MG {BID 02/18 12T0/AC 02/18
(DOCUSATE SODIUM) PO 04/18 2101 1306
Fish Oll T,000 MG | DAILY [02/18 1209/CKD | 02/18
(FISH OIL PO 04/19 0901 1306
CONCENTRATE)

Famotidine 20 MG |/BID 02/18 0900] AC 02/18
(PEPCID) PO 04/18 0901 1044

Vitamins

Sig/Sch | Start time Last

Medication Dose Route |Stop Time | Status | Admin
Cholecalciferol| 1,000 INTL.UNITS | DAILY {02/18 1209]CKD | 02/18
(VITAMIN D3) PO 04/19 0901 1306

Allergies:

Coded Allergies: .
No Known Drug Intolerances (. 02/17/16)

Review of Systems
Unable to obtain due to:
aphasia

Physical Exam

VS:
Last Documented:

Result Date Time
B/P 167/79 | 02/18 1829
Pulse Ox 99/02/18 1829
Pulse 70|02/18 1829
Resp 78 [02/18 1829
Temp 37.2 |02/18 1700
©2 Delivery |ROOM AIR [02/18 1545

Date: Time:
Delirious/Non-Delirious: Total Score:
Target RASS: []

Page 4 of 10

Patient RUEEING, JOMN AMES MEW MOOT SEs8D8 Enodull ee ss eentenniatidesicat SE Sie gel
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acct#:M00158587645

Medications:

Current Home Medications

Lisinopril (Zestril) 40 MG PO DAILY

Tamsulosin (Flomax) 0.4 MG PO DAILY
Gabapentin (Neurontin) 300 MG PO DAILY 2100
Aspirin 81 MG PO DAILY

Atorvastatin (Lipitor) 10 MG PO DAILY

ibuprofen (Motrin) 800 MG PO TID

Active Meds + DC'd Last 24 Hrs
Lisinopril 40 MG DAILY PO
Tamsulosin HCI 0.4 MG DAILY PO
Atorvastatin Calcium 40 MG BEDTIME PO
Phenylephrine HC] 30 MG ASDIRPRN IV (CKD)
Sodium Chloride 250 ML
Lidocaine HCI O .STK-MED ONE IN) (DC)
Phenylephrine HCl O .STK-MED ONE IV (DC)
Minocycline HCl 200 MG DAILY PO (CAN)
lopamidol 40 ML .STK-MED ONE IV (DC)
Atorvastatin Calcium 10MG DAILY PO (CAN)
Docusate Sodium 100 MG BID PO
Cholecalciferol 1,000 INTL.UNITS DAILY PO (CKD)
Fish Oil 1,000 MG DAILY PO (CKD)
Minocycline HCl 200 MG DAILY PO (CKD)
Sodium Chloride 500 ML BOLUS ONE IV (DC)
Aspirin 325 MG DAILY PO
Aspirin 300 MG DAILY RECTAL (DC)
Famotidine 20 MG BID PO
Enoxaparin Sodium 40 MG Q24H SUBQ
Sodium Chloride 1,000 ML .Q8H_ IV

General appearance: altered mental state, obese, alert, awake, lying in bed, no respiratory
istress

Head/Eyes: clear cornea, normocephalic, pupils are 2 mm CRR no nystagmus

ENT: normal nose

Neck: supple/no meningismus, no masses or swelling, trachea non-displaced
Cardiovascular: regular rate and rhythm

Respiratory: symmetric chest expansion, no distress

Abdomen: soft, no distention

Extremities: normal inspection, no edema

Musculoskeletal: normal inspection

Page 5 of 10

Patient: BOREING: TSNKIAMES MEN. GHOD Soto 33 Encounter mobtebeer ee Geestiral Samah tree
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acct#:M00158587645

Skin: dry, intact

Speech
Speech: global aphasia, dysarthric, dystusia, speech apraxia

Mental Status
LOC: alert
Mental status: cooperates

Glasgow

Glasgow Coma Score
Glasgow Coma Score] Response Value
Glasgow eyes: eyes open spontaneously 4
Glasgow speech: incomprehensible sounds 2
Glasgow motor: obeys commands 6
Total 12

Cranial Nerves
Cranial nerves:
Abnormal: VII.

Motor Testing

Motor testing 1:

Normal: bulk.

Motor Testing 2:

No asterixis, No dystonia, No fasciculations, No myoclonus, No myotonia, No tremor

Cerebellar Test
Cerebellar test:

Normal L finger/nose/finger
Nystagmus: absent

Reflexes
Tendon reflexes:
1+: R Bicep, L Bicep, R Patella, L Patella.

NIH Stroke Scale
NIH Stroke Scale
| NIH Stroke Scale | Response | Value |

Page 6 of 10

Case 331 7-Gv 00 (25 Documen 44 Filed 11/Rentennial Medical Gertane O02 3

Patient: ncounter: M00158587645 age 35 of 487
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acct#:M00158587645

Level of consciousness: Alert, keenly responsive 0
Ask Month & Age: Answers one correctly 1
Open/close eyes/hand grip Performs one correctly |
Horizontal EO movements Partial paresis 1
Visual fields: Partial hemianopsia |
Facial palsy: Partial facial paralysis 2
Lt arm motor drift (10s) No drift 0
Rt motor arm drift (10s) Drift; effort yet touches 2
Lt leg motor drift (5s) No drift 0
Rt leg motor drift (5s) Drift; does not touch bed 1
Limb ataxia FNF/heel-shin (F-N/H-S) | Absent 0
Sensation (arms/legs/face): Mild, aware yet dulled 1
Language aphasia: Severe, fragmentary 2
Dysarthria: Slurring, intelligible 1
Extinction/inattention: No abnormality 0
Total 13

Results
Findings/Data:
Laboratory Tests

02/18] 02/18
0406; 0455
Chemistry
Sodium (135 - 146 MEQ/L) 14]
Potassium (3.5 - 5.3 MEQ/L) 3.5
Chloride (98 - 107 MEQ/L) 108 H
Carbon Dioxide (20 - 33 MEQ/L) 28
Anion Gap (4 - 14) 5
BUN (7 - 25 MG/DL) 13
Creatinine (0.6 - 1.3 MG/DL) 0.9
GFR Calculation >90
BUN/Creatinine Ratio (6 - 25 RATIO) 13.9
Glucose (70 - 115 mg/dl) 96
Calcium (8.5 - 10.1 MG/DL) 8.1L
Triglycerides (< 150 MG/DL) 75
Cholesterol (0 - 200 MG/DL) 127
LDL Cholesterol (0 - 130 MG/DL) 81
VLDL Cholesterol (8 - 62 MG/DL) 15
Non-HDL Cholesterol (mg/dL) 96
HDL Cholesterol (> 40 MG/DL) 31L

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Case Bah TeGy OO AS Document Ada Filed 1 Lsyavenniad edict eae Pies

Patient: ncounter: M00158587645 87
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acct#:M00158587645

LDL/HDL Ratio 2.6
Cholesterol/HDL Ratio (RATIO) 4.1
Laboratory Tests
02/18
0455
Hematology

WEC (3.9 - 10.6 K/mm3) 7.9
RBC (4.50 - 5.30 M/mm3) 4.64
Hgb (13.0 - 17.0 GM/DL) 13.7
Hct (37.0 - 49.0 %) 40.4
MCV (80.0 - 100.0 fl) 87.0
MCH (27.0 - 35.0 pg) 29.6
MCHC (31.0 - 37.0 g/dl) 34.0
RDW (11.5 - 14.5 %) 12.3
RDW Std Deviation (36.5 - 45.9 %)| 37.6
Plt Count (150 - 450 k/cumm) 217
MPV (6.8 - 10.2 ff) 8.9

Radiology Data:

Recent Impressions:

COMPUTERIZED TOMOGRAPHY - CT CEREB PERF ANALYSIS 00042T 02/18 1320
*** Report Impression - Status: SIGNED Entered: 02/18/2016 1355

Impression: Decreased perfusion throughout the left middle cerebral
artery distribution of the parasylvian left temporal, parietal and
frontal lobes without evidence of ischemia at this time.

Impression By: DR.LASGR - Gregory L. Lassiter, MD

Results: labs reviewed, CT personally reviewed, rhythm personally rev'd

Diagnosis, Assessment & Plan
Free Text A&P:

He has been having crescendo stereotypical TIAs.
Now with left hemiparesis, aphasia.
HOB down, bolus of lV NS and he had some clinical improvement.

Page 8 of 10

Patient: RORENO: TOUNIAMES MEN. KOS fouo8z 3 Encoultse rdoteeedrode eee eet sere

Oe etaer
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acctt#:M00158587645

Sent for CTP, showing large penumbra ischemica.

Arranged transfer to NeurolCU for therapeutic hypertension, to try to perfuse and save the
penumbra.

Minocycline given PO today.

Place on IV Neo.

Keep HOB down flat.

Aggresive IV NS hydration/resuscitation. Goal SBP 170-19 torr.

He is >6 hours from onset of symptoms, and at this time, he is over 24 hours from onset of
symptoms.

Discussed at length with wife, her questions answerwed
Discussed with Dr Paranjepe and Dr Nottidge.

By POCUS the LV EF >50%.

Get MRI brain tomorrow.

Stroke Core measures.

Place on cardiac telemetry to screen for intermittent atrial fibrillation.

Optimize 2ry stroke prevention: decrease salt intake to <4 grams/day; keep an active life
style with scheduled 30-60 minutes a day of exercise. Aim at a normal BMI. Consider consult
to dietitian/nutritionist. Include fish in diet (http://tinyurl.com/strokeandfish).

From the secondary stroke prevention perspective, consider adding a thiazide and lisinopril
as the primary hypertension management medication regimen, and aim for SBP circa 120
torr (following JNC8 guidelines goals; and PROGRESS, 2001). He/she needs 1 (one)
antiplatelet agent, indefinitely.

Continue DVT prophylaxis while hospitalized. Provide stroke education, printed AND
verbal; teach FAST scale.

Encourage patient (and family) to d/c smoking. Please, emphasize the importance of this
recommendation. (http://tinyurl.com/stoppingtobacco) Screen for obstructive sleep apnea,
and schedule sleep clinic evaluation if OSA is suspected. (http://tinyurl.com/strokeosa)
Screen for depression, and treat accordingly.

If this patient drive motor vehicles, | advise to not do so for at least 1-2 weeks, and until a
physician releases to patient to driving again.

A FAST educational video for patients and families can be accessed at: tinyurl.com/fastscale
CC76

Orders:
Procedure Date/time | Status
IV Drip Titrate 02/18 1842 | Active
Page 9 of 10
. “nv. . _ . 3 : oO
Patient’ ROFEING. JO RO ARIES MPRE NOS {34g8o8 encbilad Wda eeeereseee MedigrbSantey ange
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/18/16
Acct#:M00158587645

Foley Removal (Nurse Driven) 02/18 1810 | Active
Order Set Tracking 02/18 1210 | Active
SWALLOW Screening (Nursing) 02/18 1210] Active
Sequential Compression Device 02/18 1210 | Active
Pulse Oximetry (Order) 02/18 1210 | Active
RT: Oxygen Therapy 02/18 1210 | Active
Neurological Check 02/18 1210 | Active
Notify MD: VS Parameters 02/18 1210 | Active
Education - STROKE Diagnosis 02/18 1210 | Active
Education, Smoking Cessation 02/18 1210) Active
Education, DX, TX, Proc Tests 02/18 1210] Active
Potential Stroke Core Measure 02/18 1210 | Active
Telemetry Monitor 02/18 1210|Active |
Anticoagulant Monitor 02/18 1210 [Active
MRI BRAIN W/O CONTRAST 70551 | 02/18 1210 | Active
Foley Catheter Insert 02/18 UNK|Active
Activity Order 02/18 UNK|Active
CT CEREB PERF ANALYSIS 00042T [02/18 UNK]| Complete

Electronically Signed by Jarquin-Valdivia,Adrian A MD on 02/18/16 at 2021

RPT #: 0218-0236
***END OF REPORT***

Page 10 of 10

Patient BOEING, JOMIN JAMES RAE HOOT 8h gbbe Encdue: LH EEE Sak aoe CH SER Pee T
CENTENNIAL MEDICAL CENTER (COCCT)
Neurology Progress Note
REPORT#:0226-1136 REPORT STATUS: Signed
DATE:02/26/16 TIME: 1851

PATIENT: RUFFINO, JOHN JAMES UNIT #: M001949828
ACCOUNT#: M00158587645 ROOM/BED: M.7131-A

DOB: 06/12/59 AGE: 56 SEX: M ATTEND: Sharifi,Naim MD
ADM DT: 02/17/16 AUTHOR:
Jarquin-Valdivia,Adrian A MD

REP SRV DT: 02/26/16 REP SRV TM: 1851

* ALL edits or amendments must be made on the electronic/computer
document *

Subjective

Subjective:

can cary a simple conversation

no d/v/n

ambulating, without aggravation of language/speech nor motor function.

Objective

Physical Exam

VS:

Last Documented:

Result Date Time

B/P 118/70 |02/26 1429
Temp 36.5 102/26 1429
Pulse 62 [02/26 1429
Resp 18/02/26 1429
Pulse Ox 94/02/26 1158
O2 Delivery |ROOM AIR | 02/26 1158

Date: 02/25/16 Time: 2043
Delirious/Non-Delirious: NO DELIRIUM Total Score: 0 = ALERT AND CALM
Target RASS: []

General appearance: alert, awake, no respiratory distress

Head/Eyes: normocephalic, PERR, EOMI

ENT: normal nose

Neck: supple/no meningismus

Respiratory: symmetric chest expansion, no distress

Abdomen: no distention

Extremities: normal inspection, no edema

Musculoskeletal: normal inspection

Neuro/CNS: abnormal speech, right hemiparesis, alert, oriented X 3, PERRL

Page 1 of 4

. _ _ . . 7 - Oo
Patient RUEEING, JOMIN JAMES MRA MOST Od s8b8 Enodult ee tibiseebeross Sbesicst Sepiaie Opens
Patient: RUFFINO, JOHN JAMES
Unit#:M001949828

Date: 02/26/16

Acct# :M00158587645

Skin: dry, intact

Speech
Speech: global aphasia (mild ), dysarthric, speech apraxia

Mental Status
|

Cranial Nerves
Cranial! nerves:
| Abnormal: VII.

Orientation:
Yes: to person, to place, to time, to situation.
: LOC: alert
| Mental status: cooperates
Glasgow
Glasgow Coma Score
Glasgow Coma Score | Response Value
| Glasgow eyes: eyes open spontaneously 4
| Glasgow speech: oriented 5
| Glasgow motor: obeys commands 6
Total 15
|

Cognitive Function
Cognitive function: good attention

Motor Testing

Motor testing 1:

Normal: bulk.

Motor Testing 2:

No asterixis, No dystonia, No fasciculations, No myoclonus, No myotonia, No tremor

Cerebellar Test
Nystagmus: absent

Results
Findings/Data:
Laboratory Tests

| [02/26

Page 2 of 4

Patient RUEFIRIO, JOMN JAMES MRAMO8TO4g8b8 Encdu. LU REE Sea ee SE PRA Zo
Patient: RUFFINO, JOHN JAMES
Unit# :M001949828

Date: 02/26/16
Acct#:M00158587645

0647
Chemistry
Sodium (135 - 146 MEQ/L) 140
Potassium (3.5 - 5.3 MEQ/L) 3.8
Chloride (98 - 107 MEQ/L) 108 H
Carbon Dioxide (20 - 33 MEQ/L) 28
Anion Gap (4 - 14) 4
BUN (7 - 25 MG/DL) 12
Creatinine (0.6 - 1.3 MG/DL) 0.9
GFR Calculation >90
BUN/Creatinine Ratio (6-25 RATIO)| 13.7
Glucose (70 - 115 mg/dl) 83
| Calcium (8.5 - 10.1 MG/DL) 8.2L
Phosphorus (2.5 - 4.9 MG/DL) 2.6
Magnesium (1,2 - 2.0 MEQ/L) 1.6
Laboratory Tests
02/26
0647
Hematology
WEC (3.9 - 10.6 K/mm3) 9.9
RBC (4.50 - 5.30 M/mm3) 4.53
Heb (13.0 - 17.0 GM/DL) 13.4
Het (37.0 - 49.0 %) 39.3
MCV (80.0 - 100.0 fl) 86.8
MCH (27.0 - 35.0 pg) 29.5
MCHC (31.0 - 37.0 g/dl) 34.0
RDW (11.5 - 14.5 %) 12,1
RDW Sid Deviation (36.5 - 45.9 %)) 37.2
Pit Count (150 - 450 k/cumm) 208
MPV (6.8 - 10.2 fl) 8.7

Results: labs reviewed

Diagnosis, Assessment & Plan
Free Text A&P:

s/p crescendo stereotypical TIAs
s/p large LMCA penumbra
occluded distal LMCA

Page 3 of 4

Case 3

Patient REINO JOLIN DAMES MRRCMOb7 Sad8be Encoll ist: Le R Reece Bae a8 cAI SeEB ERT OREO
Patient: RUFFINO, JOHN JAMES

Unit#:M001949828

Date: 02/26/16

Acet#:M00158587645

volumetrically small final infarct

continues with clinical penumbra, that improves with layng flat;

please, low dose of lisinopril, and allow SBP to ride higher, he will have a gradual, over
weeks normalization or lowering of the SBP.

Give bolus NS, and IV infusion

continue telemertry

aggressive 2ry prevention
d/c smoking

consider for inpatient acute rehab
may d/c today

f/u with PMD
Plan discussed with: intensivist, nurse, patient, soouse/partner

Electronically Signed by Jarquin-Valdivia,Adrian A MD on 02/26/16 at 1854

RPT #: 0226-1136
***END OF REPORT***

Page 4 of 4

Patient. RUBINO, JONN JAMES MBBS fo8da Encounet toieeberods dbesicet Seas MeL
CENTENNIAL MEDICAL CENTER
2300 Patterson Street
Nashville, TN 37203

|

| ve ** DT SCHARGE SUMMARY* Feveve
ROOM: M.7110-A

| STATUS: DIS IN

PATIENT: RUFFINO,JOHN JAMES

MR#: M001949828

Acc#: M00158708946

| DOB: 06/12/59

| PHYSICIAN: Dolaptchiev,Bojidar B MD

DATE OF ADMISSION: 02/27/16
DATE OF DISCHARGE: 03/03/16

DATE OF ADMISSION:
| February 27, 2016

DATE OF DISCHARGE:
March 3, 2016

PRINCIPAL DIAGNOSIS ON ADMISSION:
Acute ischemic stroke.

DISCHARGE DIAGNOSES:

1. Acute middle cerebral artery stroke.
2. Aphasia.

3. Right-sided weakness.

ADDITIONAL DIAGNOSES:

1. Hypertension.

2. Hyperlipidemia.

3. Benign prostatic hypertrophy.
4. Tobacco use.

CONSULTANTS: .
Dr. Maria Dongas and Dr. Valdivia, neurology.

PROCEDURES:
None.

HISTORY OF PRESENT ILLNESS AND HOSPITAL STAY:
This 56-year-old white male with history of hypertension and BPH who was
evaluated at Centennial Medical Center ER for increased right sided weakness and
aphasia. He was not a candidate for TPA in the emergency room secondary timing.
In the emergency room, the CT of the brain without contrast showed
encephalomalacia in the deep white matter of the left frontal and temporal
region suggesting prior infarction, no acute findings, has clinical signs of
stroke and MRI ordered on February 28, 2016, showed acute scattered areas of
strictly diffusion to suggest infarction involving the left periventricular
white matter and left external capsule and left temporal Jobe cortex. There is
also chronic small vessel ischemic disease within the pons and periventricular
white matter. The patient was started on aspirin. Physical therapy,

PT: RUFFINO, JOHN JAMES UNIT: M001949828 ACCT: M00158708946

Patient: RORFINO- 53 NAMES ENE AUS edb e EncourltSs led dea ieo. 894 Wee Gledereat See MP spe e2

CENTENNIAL MEDICAL CENTER (COCCT) MAIN ER
EMERGENCY PROVIDER REPORT

REPORT# : 0227-0982 REPORT STATUS: ESign
DATE:02/27/16 TIME: 1949

PATIENT: RUFFINO, JOHN JAMES UNIT #: M001949828
ACCOUNT#: M00158708946 ROOM/BED: ER - 04
DOB: 06/12/59 AGE: 56 SEX: PCP PHYS: NO PRIMARY OR FAMILY PHYSICIAN
ADM DATE: 02/27/16 INI AUTH: Cain,Terry W MD MD
LAST SIG:
REP SERV DT: 02/27/16 REP SERV TM: 1949

* ALL edits or amendments must be made on the electronic/computer document *

HP1-Stroke/CVA

General
Confirmed Patient Yes
Initial Greet Date/Time 02/27/16 1918

Presentation
Chief Complaint: Right Side increasing right sided weakness, increased aphasia
Onset of symptoms:
Date: 02/27/16
Time: 0430
Hx Obtained From Patient, Family
Sudden in Onset? Yes
Onset Occurred Today
Symptom Duration Since onset
Progression since Onset Gradually worsening
Associated with
Reports: Speech problem, Visual disturbance. Denies: Aura, Balance problem, Bladder
dysfunction, Bowel dysfunction, Confusion, Double vision, Gait problem, Headache,
Incontinence, Loss of consciousness, Loss of vision, Nausea, Neck pain, Syncope, Vertigo,
Vomiting.

Context
Related History
Reports: Cerebrovascular accident.

Free Text HPI Notes

Free Text HPI Notes

56 yo presents with increasing right sided weakness, increasing dysarthria/aphasia. Began
this am at 0430 when he fell while attempting to go the bathroom. Has gradually worsened
since. Is not a toa candidate secondary to recent stroke and onset greater than 4 hours ago.
Was discharged from the hospital yesterday for a stroke of the left mca with total occlusion
of m2 branch.

Risk-Stroke/CVA

Page 1 of 8

Patient: GGREING: JONNCAMES MEN. Kido ed b838 Encounse ddseeneoe eee See g Te ope 8
u
Patient: RUFFINO, JOHN JAMES MRN: M001949828 Encounter: M

Risk Stratification
Stroke Thrombolytic Therapy
TPA Considered No (contraindicated)
Neurologist Contacted Yes (Dr. Dongas)
TPA Administered Intravenously No, exclusion criteria
Exclusion Criteria Prior stroke/90 days
NIH Stroke Scale
Value 21
NIH Stroke Score Timing
Time 1930
Date 02/27/16

Review of Systems

ROS Statements
All systems rev & neg except as marked.
Complete sys rev & neg except as marked.

Basic Review of Systems
Basic ROS GU: No dysuria/frequency, HEM: No bleeding/bruising, ENDO: No cold/heat
into!l, ENDO: No weight gain/loss, ALLAMMUNE: No allergy

Focused Review of Systems

Constitutional

Denies: Fever.

Respiratory

Denies: Cough, non-productive, Cough, productive, Dyspnea on exertion, Hemoptysis,
Parox nocturnal dyspnea, Pleuritic pain, Shortness of breath, Wheezing.

Cardiovascular

Denies: Chest pain, Dyspnea on exertion, Edema, Orthopnea, Palpitations, Parox nocturnal
dyspnea, Syncope.

Gl

Denies: Abdominal pain, Nausea, Vomiting.

Neurologic

Reports: Focal weakness, Numbness, Unable to speak, Vision change. Denies: Abnormal
movement, Bladder dysfunction, Bowel dysfunction, Change LOC, Confusion, Dizziness,
Generalized weakness, Headache, Lightheaded, Problem walking, Seizure, Shaking, Slurred
speech, Spinning sensation, Syncope, Tingling.

Past Medical History - Adult

Stated Complaint DECREASE IN CONDITION SINCE STROKE LAST THURS.
Allergies

Coded Allergies:

No Known Drug Intolerances (. 02/17/16)

Home Medications

Page 2 of 8

Case 3:17-cv-00725_ Document 41-4___ Filed 1 sGentensiahWedienlstep tyson eao4
Active Scripts

Clopidogrel (Plavix) 75 MG PO DAILY
#30
Prov: 02/26/16

Atorvastatin (Lipitor) 40 MG PO BEDTIME
#30
Prov: 02/26/16

Lisinopril (Prinivil) 20 MG PO DAILY
#30 TAB
Prov: 02/26/16

Aspirin 325 MG PO DAILY
#30
Prov: 02/26/16

Reported Medications
Tamsulosin (Flomax) 0.4 MG PO DAILY
Gabapentin (Neurontin) 300 MG PO DAILY 2100

Discontinued Reported Medications
Lisinopril (Zestril) 40 MG PO DAILY
Aspirin 81 MG PO DAILY

Atorvastatin (Lipitor) 10 MG PO DAILY
Ibuprofen (Motrin) 800 MG PO TID

Past Medical History:
Reports: Hyperlipidemia, Hypertension.
Past Surgical History:
Reports Cholecystectomy
Patient History
MOTHER

Family History: Cancer, Onset: 60+.
FATHER

Family History: Cancer, Onset: 60+.
Relation not specified for:

Family History: Unremarkable

Smoking status for patients 13 Never Smoker
Physical Exam
Initial Vital Signs

Vital Signs
First Documented:

Result |Date Time
Pulse Ox 98/02/27 1920

B/P 150/76 | 02/27 1920
Temp 98.6 [02/27 1920
Page 3 of 8

_ Case 3:17-cv-00725 Document 41-4 Filed 11/Se¢nfennial Medical Se 20905185
Patient: RUFFINO, JOHN JAMES MRN: M001949828 Encounter: M00158708946 Page 23 of 285
Pulse 81 102/27 1920
Resp 16 | 02/27 1920

Last Documented:

Result |Date Time

B/P 170/85 | 02/27 1927
Pulse Ox 98 | 02/27 1920
Temp 98.6 | 02/27 1920
Pulse 81 [02/27 1920
Resp 16|02/27 1920

All vital signs available at the time of this entry have been reviewed.

Initial VS Reviewed

Focused PE
General/Const **

General/Const Awake, Alert, Well appearing, Well developed, Well hydrated, Well
nourished, Cooperative, Not toxic appearing

Distress/Hydration

Distress moderate.

Head/Eyes **

Head/Eyes Atraumatic, Normocephalic, PERRL, EOMI, No nystagmus, No periorbital
redness, No periorbital swelling, No photophobia, No scleral icterus, Conjunctiva NL,
Cornea clear, No corneal abrasion
Neck **

Neck Atraumatic, Supple, No meningismus, Full range of motion, No adenopathy, No
swelling, Non-tender, No midline vertebral tend, No masses, No crepitus, No JVD, No
carotid bruit, Thyroid NL, No tracheal deviation
Resp/Chest *%

Respiratory/Chest Atraumatic, Breath sounds NL, Breath sounds = bilat, No respiratory
distress, No rales, No rhonchi, No wheezing, No retractions, No stridor, No chest
tenderness, No chest wall deformity, No crepitus
Cardiovascular **

Cardiovascular Heart rate NL, Regular rhythm, Heart sounds NL, No gallop, No murmurs,
No rubs, Cap refill not delayed, Peripheral circulation NL, Pulses = bilaterally, No gross BP
differential
Neurologic *

Neurologic Oriented X3

Speech

Garbled, Expressive aphasia.

Cranial Nerve Deficit

6 - lateral gaze asym, 7 - upper/asymetric frown, 7 - lower/asymetric smile.

Focal Weakness

Upper extremity R, Lower extremity R.

Sensory Deficit

Upper extremity R, Lower extremity R.

Page 4 of 8

C 3:17-cv- - i i
Patient: ase SING, SOU JAMES NEN MOO" 5408 3 endalled THSGEEP isonet dieaigph See HORS
Interpretation & Diagnostics

Lab Results Interpretation

Considerations Independ review imaging, Reviewed prior records
Results

Laboratory Tests

02/27/16 1931:

14.1 140 | 106

8.4 240
41.3 38 |

Laboratory Tests:

02/27|02/27| = 02/27
1931| 1935 1936

Chemistry

Sodium (135 - 146 MEQ/L) 140

Potassium (3.5 - 5.3 MEQ/L) 3.8

Chloride (98 - 107 MEQ/L) 106

Carbon Dioxide (20 - 33 MEQ/L) 30

Anion Gap (4 - 14) 4

BUN (7 - 25 MG/DL) 18

Creatinine (0.6 - 1.3 MG/DL) 1.0

GFR Calculation > 90

BUN/Creatinine Ratio (6 - 25 RATIO) 18.9

Glucose (70 - 115 mg/dl) 89

POC Glucose (70 - 115 mg/dl) 89

Calcium (8.5 - 10.1 MG/DL) 8.7

Corrected Calcium (8.4 - 10.2 mg/dl) 9.1

Total Bilirubin (0.0 - 1.3 MG/DL) 0.4

AST (8 - 46) 16

ALT (7 - 60) 50

Alkaline Phosphatase (45 - 117) 104

Troponin | (<0.02 - 0.079 ng/mL) <0.02 L

Total Protein (6.4 - 8.2 GM/DL) 7.8

Albumin (3.5 - 5.5 GM/DL) 3.7

Globulin (2.2 - 4.2 G/DL) 4a

Albumin/Globulin Ratio (0.8 - 2.0) 0.9
Coagulation

PT (9.4 - 11.3 SECONDS) 10.1

INR (0.9 - 1.1 RATIO) 1.0

PTT (Anticoag Therapy) (24.9 - 32.4 SECONDS) 28.2
Hematology

WEC (3.9 - 10.6 K/mm3) 8.4

RBC (4.50 - 5.30 M/mm3) 4.76

Hgb (13.0 - 17.0 GM/DL) 14.1

Page 5 of 8

Case 3:17-cv-00725 Document41-4 Filed
RUFF J : E

1
Patient: ncounter: M007158708946

Page 25 of 285

1/ Rep avennak geet-al GenterneD0G513 7
Het (37.0 - 49.0 %) 41.3
MCV (80.0 - 100.0 fl) 86.8
MCH (27.0 - 35.0 pg) 29.6
MCHC (31.0 - 37.0 g/dl) 34.1
RDW (11.5 - 14.5 %) 12.2
RDW Std Deviation (36.5 - 45.9 %) 37.2
Plt Count (150 - 450 k/cumm) 240
MPV (6.8 - 10.2 fl) 8.7
Absolute Nucleated RBC (0.00 - 0.03 K/mm3) 0.00
Neutrophils % (50 - 70 %) 70.5 H
Lymphocytes % (18 - 42 %) 18.7
Monocytes % (2-11 %) 8.6
Eosinophils % (1 - 3 %) 1.5
Basophils % (0 - 2 %) 0.7
Neutrophils # (1.8 - 8.0 K/mm3) 5.9
Lymphocytes # (1.0 - 4.8 K/mm3) 1.6
Monocytes # (0.1 - 0.6 K/mm3) 0.7 H
Eosinophils # (0 - 0.5 K/mm3) 0.1
Basophils # (0 - 0.1 K/mm3) ‘0.1
Nucleated RBCs (0.0 - 0.6 %) — 0.0
Morphology Comment NORMAL INDICATED

Recent Impressions:
COMPUTERIZED TOMOGRAPHY - CT HEAD W/O CONTRAST = 70450 02/27 1944
*** Report Impression - Status: SIGNED Entered: 02/27/2016 1947

Impression:

1. Encephalomalacia in the deep white matter of left frontal and
temporal regions suggesting prior infarction.

2. No acute intracranial findings.

Impression By: DR.,BURKE1 - Kevin Burner

RADIOLOGY - XR CHEST 1 VIEW PORT = 71010 02/27 1955

*** Report Impression - Status: SIGNED Entered: 02/27/2016 2006

Impression:
1. No acute findings.
Impression By: DR.BURKE1 - Kevin Burner

Lab & Imaging Statement
Laboratory & radiographic studies reviewed and considered in the medical decision-making.

Point of Care Testing
Pulse Oximetry
Pulse Ox % 97
On: Room air
Interpretation Interpreted by me, Pulse oximetry normal

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Case 3:17-cv-00725 Document 41-4 Filed 1 LSentenniab yestat Ge reQ005 148 8
iJ Encounter: M00158708946 Page 26 of 285
ECG #1 Interpretation

Interpreted by ED physician

NL ECG Interpretation Normal rate, Normal sinus rhythm, No acute ischemic changes, No
STEMI

Lab Studies
CBC Interpretation CBC NL
BMP/CMP Interpretation BMP/CMP NL
Cardiac and Vascular Interpretation Troponin NL
Serum Coags Interpretation Coags NL

Radiography
X-Ray Chest
View Portable
Interpretation/Wet Read by Interpret - ED physician
| NL CXR Findings No acute disease
| CT Head
| Interpretation/Wet Read by Interpret - Radiologist
Reviewed by ED physician
NL Head CT Findings No acute disease, encephalomalacia of the | mca distribution

Re-Evaluation & MDM

ED Course

Time 2031

Patient Course Stable
Medication(s) Ordered
Medication(s) Ordered:
Electrolytic, Caloric, And Wat

Sig/Sch Start time Last
Medication Dose Route Stop Time | Status | Admin
Sodium Chloride | 1,000 ML| XTED ONE | 02/27 1933 | DC 02/27

IV 02/27 2032 1954

Re-Evaluation/Progress #1
Time of Re-Eval 2032
Re-Eval Status Unchanged

Consultation
Consultation
Referral/Consultant Name
Dongas,Maria F MD
Consultant Will see patient

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Case 3:

Patient: FAISEING | JOViN SAMS RASHES SLdabe Encounter: Lea bsodb = erica SEE pea eee 89
Patient Discharge & Departure

Vital Signs/Condition
Vital Signs
First Documented:

Result | Date Time
Pulse Ox 98 102/27 1920

B/P 150/76 | 02/27 1920
Temp 98.6 [02/27 1920
Pulse 81 | 02/27 1920
Resp 16 | 02/27 1920

Last Documented:

Result |Date Time

B/P 170/85 | 02/27 1927
Pulse Ox 98 [02/27 1920
Temp 98.6 | 02/27 1920
Pulse 81 | 02/27 1920
Resp 16 | 02/27 1920

All vital signs available at the time of this entry have been reviewed.

Condition Stable

Clinical Impression
Clinical Impression
Primary Impression: Stroke

Disposition Decision

2 Admit

Admit Physician Name
Mustapha, Taopheeq A MD
) )( Admission Accepts Yes

Electronically Signed by Cain,Terry W MD on 02/27/16 at 2053

RPT #: 0227-0982
***END OF REPORT***

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Case 3:17-cv-00725 Document 41-4 Filed 11/Q0¢nfen Metical Riee 5
Patient; RUFFINO, JOHN JAMES MRN: M00194982 Enc Wed Li eet couse sere ep aa 40
